

Matter of Johnson v Grasso (2022 NY Slip Op 06128)





Matter of Johnson v Grasso


2022 NY Slip Op 06128


Decided on November 2, 2022


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 2, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

BETSY BARROS, J.P.
VALERIE BRATHWAITE NELSON
CHERYL E. CHAMBERS
LILLIAN WAN, JJ.


2022-00766DECISION, ORDER &amp; JUDGMENT

[*1]In the Matter of Jonathan Johnson, petitioner, George 
vGrasso, etc., et al., respondents. 


Jonathan Johnson, Malone, NY, petitioner pro se.
Letitia James, Attorney General, New York, NY (Charles F. Sanders of counsel), for respondent George Grasso.
Melinda Katz, District Attorney, Kew Gardens, NY (Joseph DiPietro of counsel), respondent pro se.



Proceeding pursuant to CPLR article 78 in the nature of mandamus to compel the respondent George Grasso, a Justice of the Supreme Court, Queens County, to grant the petitioner leave to file a motion and to determine that motion in an action entitled People v Johnson , commenced in that court under Indictment No. 5908/87, and application by the petitioner for poor person relief.
ORDERED that the application for poor person relief is granted to the extent that the filing fee imposed by CPLR 8022(b) is waived, and the application is otherwise denied as academic; and it is further,
ADJUDGED that the petition is denied and the proceeding is dismissed on the merits, without costs or disbursements.
The extraordinary remedy of mandamus will lie only to compel the performance of a ministerial act, and only where there exists a clear legal right to the relief sought (see Matter of Legal Aid Socy. of Sullivan County v Scheinman , 53 NY2d 12, 16).  The petitioner has failed to demonstrate a clear legal right to the relief sought.
BARROS, J.P., BRATHWAITE NELSON, CHAMBERS and WAN, JJ., concur.
ENTER:
Maria T. Fasulo
Clerk of the Court








